

Zuzze v Butler (2021 NY Slip Op 00709)





Zuzze v Butler


2021 NY Slip Op 00709


Decided on February 5, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 5, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., NEMOYER, CURRAN, TROUTMAN, AND DEJOSEPH, JJ.


787 CA 19-00070

[*1]KELLY ZUZZE, PLAINTIFF-RESPONDENT,
vBRYAN N. BUTLER, M.D., AND BUFFALO MEDICAL GROUP, P.C., DEFENDANTS-APPELLANTS. (APPEAL NO. 1.) 






CONNORS LLP, BUFFALO (JOHN T. LOSS OF COUNSEL), FOR DEFENDANTS-APPELLANTS. 
	 


	Appeal from an order of the Supreme Court, Erie County (Frederick J. Marshall, J.), entered December 10, 2018. The order, insofar as appealed from, denied in part the cross motion of defendants for summary judgment. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Hughes v Nussbaumer, Clarke &amp; Velzy , 140 AD2d 988, 988 [4th Dept 1988]; Chase Manhattan Bank, N.A. v Roberts &amp; Roberts , 63 AD2d 566, 567 [1st Dept 1978]; see also  CPLR 5501 [a] [1]).
Entered: February 5, 2021
Mark W. Bennett
Clerk of the Court








